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                                                                                                       JS-6
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                         CIVIL MINUTES - GENERAL
 Case No.         CV 21-00549 PA (ASx)                                             Date     April 30, 2021
 Title            Lasabra Ragsdale v. Wilshire Commercial Capital LLC



 Present: The Honorable          PERCY ANDERSON, UNITED STATES DISTRICT JUDGE
            K. Sali-Suleyman                                Not Reported                                N/A
                Deputy Clerk                                Court Reporter                            Tape No.
                Attorneys Present for Plaintiff:                      Attorneys Present for Defendant:
                             None                                                    None
 Proceedings:                 IN CHAMBERS - COURT ORDER

        Before the Court is a Motion to Compel Arbitration filed by defendant Wilshire Commercial
Capital LLC (“Defendant”). (Dkt. No. 20.) Plaintiff Lasabra Ragsdale (“Plaintiff”) filed an Opposition
(Dkt. No. 21), and Defendant filed a Reply (Dkt. No. 22). Pursuant to Rule 78 of the Federal Rules of
Civil Procedure and Local Rule 7-15, the Court finds this matter appropriate for decision without oral
argument.

I.       Factual and Procedural Background

        Plaintiff filed a class action Complaint against Defendant on January 20, 2021 alleging violations
of the Telephone Consumer Protection Act (“TCPA”). (Dkt. No. 1). Plaintiff filed an Amended
Complaint on March 15, 2021. (Dkt. No. 18 (“FAC”).) In her FAC, Plaintiff alleges that “beginning in
February 2020, Defendant began placing calls using prerecorded messages to Plaintiff’s cellular
telephone.” (Id. ¶ 21.) According to Plaintiff, “after being subjected to numerous calls, Plaintiff
instructed Defendant to no longer contact them at Plaintiff’s cell phone.” (Id. ¶ 22.) “Despite this,
Defendant continued to call [Plaintiff’s cell phone] with prerecorded messages and using an [automatic
telephone dialing system (‘ATDS’)].” (Id. ¶ 23.) Plaintiff brings two causes of action on behalf of the
proposed class for: (1) violation of the TCPA 47 U.S.C. § 227(b), and (2) violation of 47 C.F.R. §
64.1200.

       Defendant now seeks to compel Plaintiff to individually arbitrate her claims under the Federal
Arbitration Act (“FAA”). Defendant argues the parties entered into an August 19, 2019 California
Promissory Note and Security Agreement (the “Contract”) which compels arbitration of Plaintiff’s
claims. In addition, Defendant argues the Contract prohibits Plaintiff from bringing any claims on a
class wide basis.

         The relevant parts of the Contract state:

                    This Arbitration Agreement allows any party to choose to arbitrate any
                    disputes between the parties. If the parties choose to arbitrat[e], the parties
                    will have disputes decided by an arbitrator instead of in a court. In
                    arbitration, the parties will not be able to have a jury trial. If a dispute is

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                 arbitrated, the parties give up any right to participate as a class
                 representative or a member of a class.

                 2.      Dispute: The term ‘dispute’ means and include[s] any action,
                         dispute, claim or controversy of any kind arising out of, in
                         connection with, or in any way related to the Agreement, financing,
                         contracts, origination, servicing, collection, consumer reporting, or
                         any other aspect whatsoever of a relationship or conduct of the
                         Parties related to the transaction under this Agreement. . . .

                 8.      Class Action Waiver: The Parties agree to give up any rights they
                         may have to bring a class action lawsuit or class arbitration or to
                         participate in either as a claimant. The Parties agree to give up any
                         right to consolidate or join any arbitration proceeding with . . . .
                         others. . . .

                 9.      Injunctive Relief: The Parties agree that injunctive relief will not
                         be an available remedy to arbitration. However, either party is
                         permitted to seek injunctive relief in a court of competent
                         jurisdiction. . . .

                 13.     Severability: If any part of this Arbitration Agreement other than
                         the class action waiver in paragraph 8 is found by a court or
                         arbitrator to be unenforceable, the remainder shall be enforceable.
                         If the class action waiver in paragraph 8 is found by a court or
                         arbitrator to be unenforceable, the remainder of this Arbitration
                         Agreement shall be unenforceable.

(Mot., Decl. of J. Schwartz, Ex. A.)

II.      Legal Standard

        “A party aggrieved by the alleged failure, neglect, or refusal of another to arbitrate under a
written agreement for arbitration” may petition the district court for an order compelling arbitration “in
the manner provided for in such an agreement.” 9 U.S.C. § 4. The Federal Arbitration Act (“FAA”)
provides that any arbitration agreement within its scope “shall be valid, irrevocable, and enforceable.” 9
U.S.C. § 2. The FAA reflects both a “liberal federal policy favoring arbitration” and the “fundamental
principle that arbitration is a matter of contract.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333,
333 (2011) (quotations and citations omitted). “Thus, courts must place arbitration agreements on an
equal footing with other contracts, and enforce them according to their terms.” Id. (citations omitted).



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         Under the FAA, a court’s role is “limited to determining (1) whether a valid agreement to
arbitrate exists and, if it does (2) whether the agreement encompasses the dispute at issue. If the
response is affirmative on both counts, then the [FAA] requires the court to enforce the arbitration
agreement in accordance with its terms.” Chiron Corp. v. Ortho Diagnostic Systems, Inc., 207 F.3d
1126, 1130 (9th Cir. 2000) (citations omitted). To require arbitration, a claim’s “factual allegations need
only ‘touch matters’ covered by the contract containing the arbitration clause and all doubts are to be
resolved in favor of arbitrability.” Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 721 (9th Cir. 1999)
(citation omitted). As a result, courts must “examine the factual allegations raised to determine which . .
. causes of action are arbitrable.” Id. The FAA “leaves no place for the exercise of discretion by a
district court, but instead mandates that district courts direct the parties to proceed to arbitration on
issues as to which an arbitration agreement has been signed.” Id. (quotations and citations omitted).

III.     Analysis

        Here, Plaintiff concedes that the arbitration provisions in the Contract encompass her claims.
Plaintiff argues however that “the arbitration agreement is null and void under the . . . McGill Rule,” and
that “even if the agreement is not null and void, Plaintiff has sought statutory injunctive relief in this
Court, which the agreement . . . does not allow the arbitrator to consider.” (Opp. at 2.)

         1.      California’s McGill Rule Does Not Apply to Plaintiff’s Claims

        Plaintiff first argues that the arbitration agreement is “null and void because it violates the
McGill rule.” (Opp. at 2.) In McGill, the California Supreme Court held that a contractual agreement
purporting to waive a party’s right to seek public injunctive relief in any forum is unenforceable under
California law. Blair v. Rent-A-Center, Inc., 928 F.3d 819, 822 (9th Cir. 2019) (citing McGill v.
CitiBank, N.A., 2 Cal. 5th 945 (2017)). In McGill, the Court made a distinction between a claim for
general injunctive relief, which the McGill rule does not encompass, and a claim for public injunctive
relief.

        As stated in McGill, the purpose of public injunctive relief is “to remedy a public wrong, not to
resolve a private dispute, and any benefit to the plaintiff requesting such relief would likely be incidental
to the general public benefit of enjoining such a practice.” 2 Cal. 5th at 961. “Relief that has the
primary purpose or effect of redressing or preventing injury to an individual plaintiff - or to a group of
individuals similarly situated to the plaintiff - does not constitute public injunctive relief.” Id. at 8955.
Thus, public injunctive relief must “by and large benefit[] the general public and . . . the plaintiff, if at
all, only incidentally and/or as a member of the general public.” Id. “Merely declaring that a claim
seeks a public injunction, however, is not sufficient to bring that claim within the bounds of the rule set
forth in McGill.” Blair v. Rent-A-Center, Inc., 17-cv-02335, 2017 WL 4805577, at *2 (N.D. Cal. Oct.
25, 2017); see also Johnson v. JP Morgan Chase Bank, 17-cv-2477, 2018 WL 4726042, at *6 (C.D. Cal.
Sept. 18, 2018) (“Merely requesting relief which would generally enjoin a defendant from wrongdoing
does not elevate requests for injunctive relief to requests for public injunctive relief.”).


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        For example, in Wright v. Sirius XM Radio, Inc., the plaintiff sought an injunction to bar the
defendant from certain conduct relating to a class of plaintiffs holding lifetime subscriptions to Sirius
XM radio. 16-cv-01688, 2017 WL 4676580, at *9 (C.D. Cal. June 1, 2017). Tacked onto this request,
the plaintiff requested an order enjoining the defendant “from committing such unlawful, unfair, and
fraudulent business practices” and from “making such material misrepresentations and failing to disclose
or actively concealing its practice of regularly canceling and limiting or prohibiting transfers of lifetime
subscriptions.” Id. . The court determined that these requests were “vague, generalized allegations” and
that they did not adequately request public injunctive relief. Id. The court further found that the benefit
to the public of the requested relief was merely incidental. Id. Therefore, the Court found the McGill
rule did not apply to the plaintiff’s claims.

        Similarly, in Johnson, the Court found that the plaintiff did not seek public injunctive relief
despite “craft[ing] their allegations and prayer for relief to request public injunctive relief.” 2018 WL
4726042, at *7. The court found that, upon closer inspection, the plaintiff actually intended to seek
redress for and prevent further injury to a group of plaintiffs that had already been injured by a bank's
imposition of fees, not the general public. Id. The court determined that the requested injunctive relief
provided “no real benefit to the public at large” because the class of people who stood to benefit from
the relief was limited to those who had entered contractual agreements, and not the public at large. Id.;
see also McGovern v. U.S. Bank N.A., 362 F. Supp. 3d 850, 859 (S.D. Cal. 2019) (finding that the
plaintiff sought no public injunctive relief where it was “questionable whether the general public would
receive any benefit from the injunction Plaintiff seeks, as the general public ha[d] not been subject to
and w[ould] not be subject to any of the allegedly improper fees that constitute Plaintiff's injury.”) Thus,
the Court found the McGill rule did not apply to Plaintiff’s claims.

        The Court finds this case similar to Wright and Johnson. Plaintiff’s FAC requests “[a]n
injunction requiring Defendant to cease all unsolicited prerecorded or ATDS call activity, and to
otherwise protect the interests of the Classes.” (FAC Prayer for Relief; see also FAC ¶ 70 (“Plaintiff and
the Class are also entitled to an injunction against future calls.”).) Plaintiff is seeking injunctive relief on
behalf of the proposed class, not injunctive relief that will benefit the public at large. Plaintiff’s claims
arise out of a contractual relationship between Plaintiff and Defendant, and Plaintiff seeks to represent a
class of similar individuals who entered into a contractual relationship with Defendant and then received
unsolicited calls using an ATDS. It is therefore questionable whether the general public would receive
any benefit from the injunction Plaintiff seeks, as the general public has not entered into a contractual
relationship with Defendant. See Sponheim v. Citybank, N.A., 19-cv-264, 2019 WL 2498938, at *5
(C.D. Cal. June 10, 2019) (finding plaintiff’s complaint did not seek public injunctive relief where “upon
examination of the Complaint, Sponheim’s claims arise out of the contractual rights and obligations
between Citibank and its customers, not deceptive advertising or marketing to the general public as in
McGill.”).

B.       The Court Will Hear Plaintiff’s Individual Injunctive Relief Claim

        Next, Plaintiff argues that, should the Court determine that the McGill rule does not void the
arbitration agreement, the Court should still determine the validity of Plaintiff’s claim for injunctive
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relief. (Opp. at 7.) Defendant argues that even if Plaintiff’s injunction claim is severed, the class action
waiver in the arbitration agreement remains in effect and the Court has to dismiss Plaintiff’s class action
claims.

         As noted above, the Contract contains a provision allowing a claim for individual injunctive
relief to proceed before a court. Per the terms of the Contract, “either party is permitted to seek
injunctive relief in a court of competent jurisdiction.” “This type of claim-splitting and remedy-splitting
may be inefficient and unusual, but it’s permitted so long as the parties have agreed to that course of
action.” Rogers v. Lyft, Inc., 452 F. Supp. 3d 904, 918 (N.D. Cal. Apr. 7, 2020). Thus, the Court finds
Plaintiff’s individual claim for injunctive relief can proceed before this Court.

        Further, the Court finds that the class action waiver in Section 8 of the Contract applies to all of
Plaintiff’s claims, whether or not they are arbitrable. Thus, Plaintiff’s class claims must be dismissed.
(See Contract at ¶ 8 (“The Parties agree to give up any rights they may have to bring a class action
lawsuit or class arbitration or to participate in either as a claimant.”).) For example, in Rogers, the Court
severed Plaintiff’s injunctive relief claim, compelled arbitration of the plaintiffs’ claims for
individualized relief, and struck the class allegations because “the plaintiffs waived the right to represent
a class in any forum.” 452 F. Supp. 3d at 918. Thus, the Court agrees to hear Plaintiff’s claim for
injunctive relief on an individualized basis, and strikes Plaintiff’s class allegation claims.

                                                 Conclusion

        For the reasons stated above, the Court grants in part Defendant’s Motion to Compel Arbitration.
The Court strikes Plaintiff’s class allegation claims. The parties are ordered to proceed to arbitration in
accordance with the Contract as to Plaintiff’s individual claim for monetary relief. In the exercise of its
discretion, the Court dismisses all of Plaintiff’s claims for monetary relief against Defendant without
prejudice. See Brennan, 796 F.3d at 1133 (holding that district court did not err in dismissing Brennan’s
claims without prejudice and in favor of arbitration).

         Plaintiff’s remaining claim for injunctive relief remains before this Court. Although Plaintiff’s
claim for injunctive relief is not subject to the Contract, Plaintiff’s injunctive relief claim largely
depends on the viability of Plaintiff’s claim for monetary relief which will be decided in arbitration.
Thus, the Court stays this case pending the outcome of the parties’ arbitration. The Clerk is ordered to
administratively close this case. Finally, the Court orders that, within two weeks of the completion of
arbitration, the parties shall file a Joint Status Report with the Court. If the arbitration is not completed
by September 1, 2021, the parties shall file a Joint Status Report beginning on that date and continuing
every four months until the arbitration is completed. Failure to file a required Joint Status Report may
result in dismissal of this action without prejudice.

         IT IS SO ORDERED.



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